        Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 1 of 15




                                   STATEMENT OF FACTS

        1.     Your affiant, Timothy M. Alvord, is a Special Agent of the Federal Bureau of
Investigation. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. I am authorized by law or by a Government agency to
engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws.

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

                        Incursion at the U.S. Capitol on January 6, 2021

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

        5.     At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

       6.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 2 of 15




        7.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                         Facts Specific to JOHN DOUGLAS WRIGHT

       8.     Following the January 6, 2021 attack on the Capitol, your affiant received and
reviewed multiple tips submitted by members of the public.

       9.      Four cooperating witnesses (“CW1”, “CW2”, “CW3" and “CW4”) separately
reported that JOHN DOUGLAS WRIGHT (“WRIGHT”) participated in the protest at the Capitol
on January 6, 2021.

       10.       CW1 was aware of WRIGHT’s participation from admissions made by WRIGHT
to CW1. CW1 has known WRIGHT for 19 years, and confirms that the individual heard in
Facebook video posts from account doug.wright.108 that were posted from inside and outside the
Capitol, is in fact WRIGHT.

       11.     CW2 reported to the FBI that he/she viewed Facebook comments by WRIGHT,
which were made to a Facebook page of CW2’s Facebook “friend”, which indicated that WRIGHT
made it inside the Capitol Building and was “beat up.”

       12.     CW3 and CW4 were aware of WRIGHTS’s participation because WRIGHT posted
video on his public Facebook account doug.wright.108. CW3 and CW4 reported that video from
January 6, 2021 depict WRIGHT’s Facebook page broadcasting live video he took from inside the
Capitol. CW3 has known WRIGHT for four years and confirm that the individual shown in
Facebook posts from account doug.wright.108 that were posted from inside the Capitol, is in fact
WRIGHT. CW4 does not know WRIGHT but was able to view the video because a Facebook
“friend” of CW4 shared the video of WRIGHT

        13.     On January 7, 2021, the Canton Repository newspaper published a story about
WRIGHT’s attendance at the January 6th Washington DC protest. During the interview, WRIGHT
stated that he was “beaten up by the cops” and “Yesterday wasn’t the end. Yesterday was the first
battle of the war. I promise you”. The following is a picture that accompanied the story:
        Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 3 of 15




       14.   On January 7, 2021, CW1 reported to the FBI that WRIGHT made admissions to
CW1 that he was detained inside the Capitol Building Rotunda during the riot. WRIGHT told
CW1 that he was sprayed with a chemical agent and forced to the ground inside the Capitol
Building. CW1 also identified the voice in video’s from Facebook account doug.wright.108 as that
of WRIGHT. These video’s were from inside and outside the Capitol Building.

       15.    On January 9, 2021, CW2 reported to the FBI that he/she viewed Facebook
comments by WRIGHT, which were made to a Facebook page of CW2’s Facebook “friend”,
which indicated that WRIGHT made it inside the Capitol Building and was “beat up”.

        16.    On January 11, 2021, CW3 reported that WRIGHT was inside the U.S. Capitol
Building during the riot on January 6, 2021. CW3, who is a Facebook “friend” of WRIGHT,
observed video that WRIGHT had posted to his Facebook page. This video, which was broadcast
live, was from inside the Capitol Building. CW3 could not see WRIGHT in the video but was able
to recognize his voice. CW3 has known WRIGHT for four years, and has met him in person,
which is how CW3 is able to identify WRIGHT’s voice.

       17.    On February 8, 2021, CW4 reported to the FBI that he/she observed video that was
shared on Facebook from WRIGHTS’s Facebook page of video from inside the Capitol Building.
This video was from inside the Capitol Rotunda. The Facebook video was titled “Doug Wright
was Live”. CW4 was able to capture a screenshot of the video.
Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 4 of 15
        Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 5 of 15




        18.  While personally viewing account doug.wright.108, your affiant observed
statements made by the account user of doug.wright.108 on January 5, 2021 in which the user
states “TODAY WE TAKE GEORGIA TOMORROW WE TAKE OUR COUNTRY BACK
(SOUND FAMILIAR)”.

        19.  While personally viewing account doug.wright.108, your affiant observed
statements made by the account user of doug.wright.108 on January 7, 2021 in which the user
states “YESTERDAY WAS A PRACTICE RUN”.

        20.    On January 7, 2021, a review of Facebook account doug.wright.108, affiant
observed a video, captioned “Doug Wright was Live”. This video was posted on January 6, 2021
at 2:16 pm. This video depicted a crowd near the US Capitol Building. A voice was shouting
“We are in the house. All we got to do is get the door down now. We’re gonna drag their stupid
asses out”.

        21.   On January 7, 2021, a review of Facebook account doug.wright.108, affiant
observed a video, captioned “Doug Wright was Live”. This video was posted on January 6, 2021
at 2:19 pm. This video depicted a crowd near the US Capitol Building. A voice was shouting
“Whose house, our house”.

       22.     A tip submitted to the FBI contained a video attachment of a Facebook Live video,
captioned “Doug Wright was Live”. This video was from inside the US Capitol Rotunda, with an
individual shouting “Yeah, this is what the inside looks like. We are in our house”.

        23.     On January 11, 2021, case agent interviewed WRIGHT at his residence. WRIGHT
stated that he was not inside the US Capitol Building. After interviewing WRIGHT, and viewing
the three Facebook videos described above, your affiant believes that the voice in all three
Facebook Live videos is that of WRIGHT.

        24.    A review of CCTV video from the U.S. Capitol Building revealed an individual,
believed to be WRIGHT, in the U.S. Capitol Building, to include the Rotunda. The individual
believed to be WRIGHT is wearing the same hooded sweatshirt that he was wearing when
interviewed by the Canton Repository on numerous occasions. WRIGHT also shares a photo
numerous times on Facebook Messenger that depicts him shoving a police barrier. In this photo,
WRIGHT is wearing the same hooded sweatshirt.
Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 6 of 15
        Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 7 of 15




       25.    On March 11, 2021, a Federal Search Warrant was executed on Facebook for the
account belonging to doug.wright.108. On March 15, 2021, results for account doug.wright.108
were returned. During these Facebook Messenger conversations, WRIGHT reveals his
premeditated intent to assault law enforcement officers, breach the US Capitol Building, commit
violence on members of Congress, and participate in “war”. The following conversations were
observed between WRIGHT and various individuals on Facebook Messenger (Times are in UTC):

                 a. Conversation between WRIGHT and Individual 1:
       Author Doug Wright (Facebook: 100004111302150)
       Sent 2021-01-06 03:57:17 UTC
       Body WE ARE GOING TO HAVE TO FIGHT THE BLUE TOMORROW

       Author Doug Wright (Facebook: 100004111302150)
       Sent 2021-01-06 04:05:52 UTC
       Body FROM WHAT I SEEN TONIGHT THE TEMPERS WILL BE UP
       TOMORROW AND POLICE LINES WILL BE BREACHED

       Author Individual 1 (Facebook: xxxx-225)
       Sent 2021-01-06 04:06:46 UTC
       Body They need to understand that we are serious! I think they will get the point
       tomorrow.

       Author Doug Wright (Facebook: 100004111302150)
       Sent 2021-01-06 04:06:53 UTC
       Body WE HAVE ENOUGH TO PUSH THRU

       Author Individual 1 (Facebook: xxxx-225)
       Sent 2021-01-06 04:07:02 UTC
       Body I'm sure

       Author Doug Wright (Facebook: 100004111302150)
       Sent 2021-01-06 04:07:47 UTC
       Body THE FIRST MISTAKE THEY MAKE IN CHAMBERS WE ARE GOING IN
       AND DRAG THEM OUT

       Author Individual 1 (Facebook: xxxx-225)
       Sent 2021-01-06 04:08:02 UTC
       Body Georgia counties are shutting down again this is bullshit

       Author Doug Wright (Facebook: 100004111302150)
       Sent 2021-01-06 04:08:04 UTC
       Body HOPE I MAKE IT THROUGH

       Author Doug Wright (Facebook: 100004111302150)
       Sent 2021-01-07 21:21:21 UTC
       Body I AM IN RED HOODIE
Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 8 of 15




          b. Conversation between WRIGHT and Individual 2:
Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 04:43:19 UTC
Body War tokorrow

Author Individual 2 (Facebook: xxxx-367)
Sent 2021-01-06 04:43:24 UTC
Body So what's next civil war

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 04:44:09 UTC
Body 5million pissed off patriots tomorrow

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 04:44:35 UTC
Body First battle

          c. Conversation between WRIGHT and Individual 3:
Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 05:27:53 UTC
Body ALMOST WAR TIME

Author Individual 3 (Facebook: xxxx-288)
Sent 2021-01-06 05:28:37 UTC
Body Yep! And they are stealing the Georgia run offs as we speak�

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 05:28:46 UTC
Body I KNOW

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 05:29:05 UTC
Body THAT WILL BE THE 2ND BATTLE FIELD

Author Individual 3 (Facebook: xxxx-288)
Sent 2021-01-06 05:29:35 UTC
Body I believe war begins tomorrow for Trump...

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 05:29:47 UTC
Body FOR US

Author Individual 3 (Facebook: xxxx-288)
Sent 2021-01-06 05:30:12 UTC
Body I hope he uses his executive order and arrests them all
Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 9 of 15




Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 05:30:28 UTC
Body ME TOO

Author Individual 3 (Facebook: xxxx-288)
Sent 2021-01-06 05:31:34 UTC
Body You know they are gonna sneak through the tunnels instead of coming out the
building. People need to find the tunnel exits and get them

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 05:31:57 UTC
Body DONE

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-06 05:32:10 UTC
Body ALL PLANNED OUT

Author Individual 3 (Facebook: xxxx-288)
Sent 2021-01-06 05:32:37 UTC
Body I knew you was ahead of the game��

          d. Conversation between WRIGHT and Individual 4:
Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-07 20:52:06 UTC
Body IT'S FUCKING WAR TIME

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-07 21:10:33 UTC
Body NO MORE PROTESTING

           e. Conversation between WRIGHT and Individual 5:
Author Individual 5 (Facebook: xxxx-292)
Sent 2021-01-07 23:08:13 UTC
Body I love it, did you get in?

Author Doug Wright (Facebook: 100004111302150)
Sent 2021-01-07 23:08:42 UTC
Body SET ON NICE BENCH IN ROTUNDA AND HAD A SMOKE

           f. Conversation between WRIGHT and Individual 6:
Author Individual 6 (Facebook: xxxx-378)
Sent 2021-01-08 01:15:23 UTC
Body Are you guys planning on going back to DC

Author Doug Wright (Facebook: 100004111302150)
       Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 10 of 15




       Sent 2021-01-08 01:15:44 UTC
       Body LOADED

       Author Individual 6 (Facebook: xxxx-378)
       Sent 2021-01-08 01:17:33 UTC
       Body When do you plan on going

       Author Doug Wright (Facebook: 100004111302150)
       Sent 2021-01-08 01:17:45 UTC
       Body 17TH

       Author Doug Wright (Facebook: 100004111302150)
       Sent 2021-01-08 01:18:04 UTC
       Body I THINK WE NEED TO MAKE HOME VISITS


       26.      Upon receiving this information, FBI compared a known image of JOHN
DOUGLAS WRIGHT obtained from the Ohio State Bureau of Motor Vehicles on approximately
January 9, 2021 to images and surveillance footage obtained by law enforcement at and around
the U.S. Capitol on January 6, 2021. By comparing this photograph to the surveillance footage,
your affiant reasonably believes that the person is JOHN DOUGLAS WRIGHT.
       Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 11 of 15




       27.    Your affiant reviewed surveillance footage of an individual resembling JOHN
DOUGLAS WRIGHT inside the U.S. Capitol Rotunda at approximately 2:40 PM. I believe
JOHN DOUGLAS WRIGHT to be the individual seen in Photo 1 wearing a red hooded
sweatshirt. WRIGHT is seen utilizing his cell phone in this photo. Wright was in the main
Rotunda area for approximately 9 minutes 41 seconds.




                                         Photo 1
       Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 12 of 15




       28.    CCT Video labeled 7216 USCH 02 Rotunda Lobby East Stairs USCH 02, at
approximately 2:49 PM, show WRIGHT as he looks up the stairwell in Photograph 2.




                                        Photo 2

      29.    CCT Video labeled 0686 USCH 02 Rotunda Door Interior, at approximately 2:50
PM, shows WRIGHT is at the left of the screen near the stairwell in Photograph 3.




                                        Photo 3
       Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 13 of 15




       30.     Based on my in person interview of WRIGHT, your affiant reasonable believes
this Photo 4, which was taken outside the East Front of the U.S. Capitol Building on January 6,
2021, shows JOHN DOUGLAS WRIGHT.




                                           Photo 4

        31.   Your affiant believes this Photo 5, which was taken outside the East Front of the
U.S. Capitol on January 6, 2021, shows JOHN DOUGLAS WRIGHT holding onto a police
barrier. WRIGHT is wearing the red hooded sweatshirt, with the hood pulled over his head.




                                           Photo 5
        Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 14 of 15




       32.     After interviewing WRIGHT and comparing his physical characteristics to the
individual captured on video and photographs from inside and outside the Capitol detailed above,
your affiant believes that WRIGHT is the same person captured in the videos and photographs.

       33.    A review of Ohio Secretary of State Business Records indicate that JOHN D.
WRIGHT JR. is the Agent/Registrant for the business D AND L CHARTER. This business lists
an address known to your affiant in Canton, Ohio, which is the same address as WRIGHT.

        34.    A review of Facebook account doug.wright.108 indicate the account user’s
birthdate is a date known to your affiant in December 1966 (and is the same birthdate as
WRIGHT), with a registered email account address as dandlcharter@att.net.

                                   Statement of Probable Cause

        35.      Based on the foregoing, your affiant submits that there is probable cause to believe
that JOHN DOUGLAS WRIGHT violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in
fact, impedes or disrupts the orderly conduct of Government business or official functions; and
(4) knowingly engage in any act of physical violence against any person or property in any
restricted building or grounds; or attempts or conspires to do so. For purposes of Section 1752
of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of
a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        36.     Your affiant submits there is also probable cause to believe that JOHN DOUGLAS
WRIGHT violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or
the orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.

        37.     Your affiant submits there is probable cause to believe that JOHN DOUGLAS
WRIGHT violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission
of a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce
or the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected
function means any function, operation, or action carried out, under the laws of the United States,
       Case 1:21-mj-00398-ZMF Document 1-1 Filed 04/26/21 Page 15 of 15




by any department, agency, or instrumentality of the United States or by an officer or employee
thereof. This includes the Joint Session of Congress where the Senate and House count Electoral
College votes.

       38.    Your affiant submits there is probable cause to believe that JOHN DOUGLAS
WRIGHT violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or
impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.

       39.     Finally, your affiant submits there is probable cause to believe that JOHN
DOUGLAS WRIGHT violated 18 U.S.C. § 1001, which makes it a crime to willfully make a
materially false statement in a matter within the jurisdiction of the executive branch of the
Government of the United States.


                                                    _________________________________
                                                    TIMOTHY M. ALVORD
                                                    Special Agent
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 26th day of April 2021.


                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
